8:99-cr-00236-RGK-TDT   Doc # 932    Filed: 10/27/05   Page 1 of 1 - Page ID # 871




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )           8:99CR236
                        Plaintiff,          )
                                            )
     vs.                                    )           ORDER
                                            )
WILLIAM ENRIGHT,                            )
                                            )
                  Defendant.                )


     IT IS ORDERED that a revocation hearing is set to commence at

12:30 p.m. on November 18, 2005 before the Hon. Richard G. Kopf,

United States District Judge, in Courtroom #1, United States

Courthouse, Lincoln, Nebraska.


     Dated: October 27, 2005.


                             BY THE COURT

                             s/ David L. Piester

                            David L. Piester
                            United States Magistrate Judge
